Case 1:20-cr-00119-RBK Document 24 Filed 02/05/20 Page 1 of 2 PagelD: 131
UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY

UNITED STATES OF AMERICA : Hon.

Criminal No. 20- | \9 (2a)

v.

KHALIF TOOMBS

INFORMATION

The defendant having waived in open court prosecution by indictment, the United States
Attorney for the District of New Jersey charges:

From in or about April 2019 through in or about June 2019, in Atlantic County, in the
District of New Jersey and elsewhere, defendant

KHALIF TOOMBS

did knowingly and intentionally conspire and agree with Terryn Kelsey, Tieyesha Tucker, Wayne
Burnside, and others, known and unknown, to distribute and to possess with intent to distribute 1
kilogram or more of a mixture and substance containing a detectable amount of heroin, a Schedule
I controlled substance, contrary to Title 21, United States Code, Sections 841(a)(1) and
841(b)(1)(A).

In violation of Title 21, United States Code, Section 846.

Ciuc

CRAIG CARPENITO
United States Attorney

Case 1:20-cr-00119-RBK Document 24 Filed 02/05/20 Page 2 of 2 PagelD: 132

CASE NUMBER:

United States District Court
District of New Jersey

UNITED STATES OF AMERICA
V.

KHALIF TOOMBS

INFORMATION FOR

21 U.S.C. § 846

CRAIG CARPENITO
U.S. ATTORNEY, NEWARK, NEW JERSEY

MARTHA K,. NYE
Assistant U.S. Attorney

Camden, New Jersey
(856) 757-5104

